       Case 1:24-cr-00009-JRH-BKE Document 1 Filed 02/06/24 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION


UNITED STATES OF AMERICA                       INDICTMENT.,^.
                                                                dl 24 -000 9
                                                                        ^    • *


V.                                             18 U.S.C. § 922(o)(l)         ^
                                               Illegal Possession of auV-
DAVEON DANIELS                                 Machinegun

                                               18 U.S.C. § 922(g)(1)
                                               Possession of a Firear^^by
                                               Prohibited Person         o

THE GRAND JURY CHARGES THAT:


                                    COUNT ONE
                         Illegal Possession of a Machinegun
                                 18 U.S.C. § 922(o)(l)

      On or about May 29, 2023, in Columbia County, within the Southern District

of Georgia, the Defendant,

                                DAVEON DANIELS,

did knowingly possess a machinegun, as defined in Title 26, United States Code,

Section 5845(b), namely a Glock, Model 19,9mm caliber pistol, bearing serial number

BTNS656, which had been converted to shoot automatically more than one shot with

a single function of the trigger, and a conversion device, also known as an "auto sear,"

a part designed solely and exclusively for use in converting a weapon into a

machinegun.

      All in violation of Title 18, United States Code, Section 922(o)(l).
Case 1:24-cr-00009-JRH-BKE Document 1 Filed 02/06/24 Page 2 of 3
Case 1:24-cr-00009-JRH-BKE Document 1 Filed 02/06/24 Page 3 of 3
